Case 2:12-cr-00131-SRC          Document 61        Filed 04/17/12      Page 1 of 2 PageID: 114




                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY




    UNITED STATES OF AMERICA                     CRIM. NO. 1243 1(SRC)




    MICHELLE MASSARO                                     ORDER




             This matter having been opened to the Court upon application of Richard J.

    Verde, attorney for Defendant, Michelle Massaro, and Paul J. Fishman, United States

    Attorney for the District of New Jersey (Randall Cook, Assistant U.S. Attorney

    appearing) for an Order to allow the release of the lien pursuant to the Appearance Bond

    on the real property (home) of the Co-Signer Rene Massaro from the time period of April

    14, 2012 to April 30, 2012 in order for Rene Massaro to refinance her real property

    (home) and Pre-Trial Services (by Officer Mertice Evans) and Randall Cook, Assistant

    U.S. Attorney consenting to said release of lien for said time period and for good cause

    shown;

             kisonthis           /       dayef                        ,2012
                                                 4,
             ORDERED that the lien pursuant to t1e Appearance Bond on the real property

    (home) of Rene Massaro is released for the time period of April 14, 2012 to April 30,
                                              __-




Case 2:12-cr-00131-SRC          Document 61       Filed 04/17/12      Page 2 of 2 PageID: 115




   2012 in order for said Rene Massaro to refinance her real property (home) and it is

   further ORDERED that all other conditions of bail shall be maintained




                                                     ATES DISTRICT JUDGE

   Consented and Agreed to by:



    Randall Cook, Assitani United States Auorney




           3. Verde. Attorney
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